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                                 UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA

COURT TRIAL MINUTE ORDER

Case No. 3:12-cv-04854-LB                         Case Name: Sidibe v. Sutter Health

Date: March 11, 2022                              Time: 8:30 AM – 11:36 AM

The Honorable Laurel Beeler

Clerk: Elaine Kabiling                            Court Reporter: Not Reported

COUNSEL FOR PLTF:
Matthew Cantor, Jean Kim, Allen Steyer, David Goldstein and Jill Manning

COUNSEL FOR DEFT:
Jeffrey LeVee, Robert Bunzel, David Kiernan

                                                  Further Trial:

PROCEEDINGS:
***See Attached Trial Log

WITNESSES:

ADMITTED EXHIBITS:
Plaintiffs Exhibits: 1712, 663, 1568, 4841, 266, 654, 4570, 4563 – 4569, 4571, 4802, 4803, 2383, 416,419,
4840, 3179, 3183, 5356, 201, 989, 203, 3387, 2258, 293, 295, 1031, 1527, 9100, 9066, 2419, 4438, 3028, 3031,
2425, 95, 3072, 42, 3042, 45, 4164, 551, 1610, 4708 – 4716, 1523, 520, 96, 2780, 4806, 93, 85, 4842, 1705,
1622, 1620, 2006, 2007, 2008, 2010, 1339, 4838, 426, 4007, 429, 617, 3691-1, 3692-2, 1545, 4844, 1465, 166,
162, 4840, 524, 3170, 1405, 1672, 4839, 2387, 479, 1356, 1186, 1266, 1329, 1930, 691, 1456, 693, 71, 4571,
4606, 4585, 1624, 4586, 4587, 4588, 4633, 4624, 4625, 4639, 4620, 4589, 4590, 4591, 4592, 4593, 4597, 4598,
4599, 4600, 4601, 4602, 4603, 4604, 4605, 4623, 4626, 4630, 4628, 4686, 4673, 4671, 4676, 4675, 4678, 4677,
4674, 4635, 4616, 4634, 4636, 4680, 4681, 4682, 4687, 4668, 4669, 4670, 1323, 5302, 6077, 5612, 391, 918,
4434, 3043, 510, 2724, 2722, 1685, 2814, 658, 3936, 522, 5388, 3945, 6075, 6015, 6280, 9051, 264, 265, 1706,
1707

Defendants Exhibits: 9500, 661, 8935, 5654, 9401, 9040, 3351, 44, 5607, 5901, 5539, 5112, 5037, 5091,
9093, 5090, 1557, 9092, 5253, 5175, 5363, 6105, 6222, 6136, 6185, 9038, 5790, 3933, 5413, 9020, 4645, 9501,
9351, 9338, 8759, 9502, 9503, 9157, 9047, 9114, 5598, 9149, 9161, 9140, 5432, 9136, 9139, 9103, 9101, 9104,
9105, 9123. 9138, 9100, 9142, 9143, 8723, 9129, 4450, 4839, 8927, 5269, 8935, 5619, 5524, 5700, 9113, 9057,
838, 5477, 5714, 6360, 5792, 9112, 9141, 9113, 9116, 9147, 9120, 5476, 9114, 8761, 9152, 9504, 9158, 9149,
2419, 9145, 9146, 9094, 9215, 5227, 8938, 7232, 9505, 6371, 6325, 6330, 6340, 6341, 6347, 6348, 6349, 6355,
9506, 9230, 9252, 9256, 9330, 9329, 9239, 9263, 9253, 9327, 9249, 9241, 9507, 9302, 9305, 9309, 9304, 9354,
9306, 9307, 9311, 9288, 8779, 8780, 8781, 8782, 8783



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                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

Case No: 3:12-cv-04854-LB                 Case Name: Sidibe v. Sutter Health

                            TRIAL LOG, EXHIBIT and WITNESS LIST

 JUDGE:                        PLAINTIFF ATTORNEY:                    DEFENSE ATTORNEY:
 LAUREL BEELER
 TRIAL DATE:                   REPORTER(S):                           CLERK:
 03/11/2022                    Not Reported                           Elaine Kabiling

 PLF    DEF    TIME
 NO.    NO.    OFFERED ID           REC           DESCRIPTION
                                                  (Not Reported):
                                                  Jury is present in jury room and commences
               8:30 AM
                                                  deliberations.
               9:30 AM                            Jury takes its morning recess.
                                                  Jury returns from break and informs the Courtroom
               9:45 AM                            Deputy that a verdict has been reached. Court stands
                                                  in recess.
                                                  (Reported):
                                                  Court, counsel, and jury are present in open court.
                                                  Court addresses jury and the jury confirms that a
               11:25 AM
                                                  verdict has been reached. The verdict is published.
                                                  At the court’s direction, the jury is polled.
                                                  The jury is thanked and excused. Court stands in
               11:28 AM
                                                  recess.
                                                  Outside the presence of the jury, Court and counsel
               11:30 AM
                                                  discuss legal matters as set forth on the record.
               11: 36 AM                          Court adjourns.




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